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IN THE DIsTRICT CoURT IN ANI) FoR TULsA CoUNTY ,," v "“
sTATE oF oKLAHoMA "‘§//i‘it’ g §§ mrs
' J
RoCHELLE HART, ) SSY~SWW/ESM,,
Piaimirr, ) Q&er
' )
vs. ) Case No. CJ-Z()l l-'/Bl
) Judge Mary Fitzgerald
JENNIFER DAVINA LAY and )
NArioNWIDE PRoPERTY & CASUALTY )
INS. Co., )
)
Defendants. )

ANSWER ()F DEFENDANT NATIONWIDE PR()PERTY & CASUALTY INS. éO.
COMES NOW the Defendant, Nationwide Propeity & Casualty lns. Co., by and through
its attorneys of record, Jason A. Robertson and Gerald P. Green, of the law firm Pierce Couch

Hendrickson Baysinger & Green, Tulsa, Oklalioma, and for its Answer to the First Amended

Petition for Damages of the Plaintiff as filed herein, alleges and states as follows:

l. This Defendant denies both generally and specifically each and every material allegation
contained in Plaintift"s First Amended Petition for Damages and demands strict proof
thereof by a preponderance of the evidence except as set forth otherwise herein below.

2. This Defendant admits Plaintiff had in force an automobile insurance policy for which
she regularly paid premiums However, this Defendant Would state it is without
knowledge or information sufficient to allow the formation or an opinion or belief as to
the truth of the remaining allegations asserted in paragraph l of Plaintiff’s First Amended
Petition and therefore, denies the same.

This Defendant admits it has had contact with Plaintist attorneys regarding

L».)

underinsured motorist benefits However, this Defendant denies that is has not responded

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as alleged in paragraph 2 of Plaintiff`s First Amended Petition, and demands strict proof
thereof

4. This Defendant denies the allegations contained in paragraphs 3 and 4 of Plaintiff’s First
Amended Petition and demands strict proof thereof

AFFIRMATIVE DEFENSES
l. This Defendant denies that it, its agents, servants or employees were guilty of any act or
- conduct constituting a breach of contract or bad faith claims handling To the contrary,

this Defendant alleges that at all times, its agents, servants or employees were consistent
with their duties, responsibilities and obligations in providing insurance coverage and
handling claims in a responsible, professional and fair manner.

2. This Defendant denies that it has committed insurance bad faith upon the grounds that
there exists a legitimate disagreement and/or dispute between it and the plaintiff in regard

to its insurance claim.

3. This Defendant did not deny Plaintiff’s claim for benefits when it was presented
4. Plaintiffs First Amended P'etition fails to state a cause of action for punitive damages
5. Plaintist First Amended Petition, to the extent that it seeks punitive damages, violates

Defendant's right to both procedural and substantive due process under the Fifth and
Fourteenth Amendments to the United States Constitution and the Constitution of the
State of Oklahoma in that: ~

A. The standards under which such claims are submitted are so vague as to be
effectively meaningless and threaten the deprivation of property for the benefit of society

without the protection of fundamentally fair procedures;

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B. The highly penal nature of punitive damages threatens the possibility of excessive
punishment and almost limitless liability without the benefit of fundamentally fair
procedures and any statutory limitations;

C. The introduction of evidence of financial worth is so prejudicial as to impose
liability and punishment in a manner bearing no relation to the extent of injury;

D. Ol<lahoma Law does not place a reasonable constraint on the jury's discretion
when considering punitive damages;

E. Oklahoma Law does not provide sufficient post-trial procedures and standards, at
the District Court level, for scrutinizing a punitive damage award;

F. Oklalioma law is not sufficiently established for adequate appellate review of
punitive damage awards. v

6. Plaintiffs First Amended Petition, to the extent it seeks punitive damages, violates
Defendant's right to protection from "excessive fines" as provided in the Eighth
Amendment of the United States Constitution and the Constitution of the State of
Oklahoma.

7. Plaintiff’s First Amended Petition, to the extent it seeks punitive damages, violates
Defendant’s right to equal protection under the law and is otherwise unconstitutional
under the United States Constitution and the Constitution of the State of Oklahoma.

8. Plaintiff’s claim for punitive damages is unconstitutional and in violation of the due
process clauses contained in the Fifth and Fourteenth Amendments to the United States
Constitution and in Section 7, Article ll of the Cklahoma Constitution in tliat, among
other reasons, the standards for an award of punitive damages are unconstitutionally

vague, and the issue is so prejudicial as to render an award the product cf bias and

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passion in a way lacking the basic elements of fundamental fairness, in the absence of
existing statutory limitations on a maximum possible award, and could unfairly result in
an award bearing no relation to the nature and extent of Plaintiff's injuries
9. Plaintiffs claim for punitive damages is unconstitutional under Article ll, Section 9 of
the Oklahoma Constitution in that, among other reasons, it constitutes an excessive fine
designed to punish a wrongdoer for the benefit of society.
lO. Plaintiff’s claims for punitive damages are contrary to the United State Supreme Court
decision in State Farm v. Campbell, 123 S.Ct. 1513, (2003).
ll. lf there are any material allegations which this Defendant has not denied which adversely
affect its rights it here and now denies the same.
JURY DEMAND
This Defendant hereby demands a jury trial.
l AMENDMENTS TO ANSWER
This Defendant specifically reserves the right to amend this Answer' to include additional
general or affirmative defenses upon the completion of discovery.
_ WHEREFORE, having fully answered the First Amended Petition of the Plaintiff on file
herein, this Defendant respectfully request that this Court dismiss this action, or in the
alternative, that judgment be rendered in its favor together with costs, attorney’s fees and such

other relief to which it may be' entitled.

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Respectfully bmitted

PIERCE Cb HHENDRICKSoN

    

 

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CERTIFICATE OF SERVICE

I hereby certify that a 'full, true and correct copy of the above and foregoing document
was served on the 20th day of May, 20l3, via:

WLS. First Class Mail, proper postage prepaid;
-Certified l\/lail, Return Receipt Requested;
[:]Facsimile;

I:lHand Delivery;
[:]Overnight Express Delivery;

to the following counsel of record:

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